                  Case 1:13-cv-01319-RWS Document 5 Filed 10/04/13 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             MARIAN T. MOSS,                          :
                                                      :
                      Plaintiff,                      :
                                                      :
             v.                                       :     CIVIL ACTION NO.
                                                      :     1:13-CV-1319-RWS
             DEKALB COUNTY BOARD OF                   :
             HEALTH,                                  :
                                                      :
                      Defendant.                      :

                                                   ORDER

                      On August 22, 2013, the Court entered an Order [4] ordering Plaintiff to

             file an Amended Complaint that contains her age discrimination claim within

             thirty (30) days of that Order. More than thirty (30) days have passed and

             Plaintiff has failed to file an amended complaint. Therefore, this action is

             hereby DISMISSED, due to Plaintiff’s failure to follow a lawful order of this

             Court.

                      SO ORDERED, this 3rd day of October, 2013.




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                                                      RICHARD W. STORY
                                                      UNITED STATES DISTRICT JUDGE




AO 72A
(Rev.8/82)
